                           EXHIBIT 6
Email to Former GPD Chief, Hassan Aden
These emails support the Plaintiff's claims
                           regarding:


  • The Twitter tweet to former GPO Chief, Hassan
                          Aden
            • GPD's refusal of jurisdiction
   • ECU Health's refusal to allow Plaintiff to speak
                     to their police
    • Communications between Vicki Haddock and
                       SBI agents
        • The SBI mystery investigation prior to
                  September 13, 2014
    • The GPD/SBI Official Investigation November
                          2014




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6/12/24, 4:00 AM                                                           avens1@charter.net-Webmail I CHTR



    Subject: hassan aden (@chiefaden) replied to one of your Tweets!
    Date: September 9, 2014 at 9:32 PM EDT
    From: hassan aden (via Twitter)<notify@twitter.com>
    To: avensl @charter.net



                          c denise,                                                                               1"1    C
                          hassan aden replied to your Tweet!                                                      dcnis




                             ri ,.,'      c denise
                                          @C_Denise
                                          @chiefaden conduct was culpably negligent and proximately caused
                                          Keisha W's death @Vidant_Health. No one wil investigate.
                                          #Manslaughter - 10 Sep

                                          hassan aden
                                          @chiefaden
                                          @C_Denise @Vidant_Health Please
                                          elaborate via email. Thank you.
                                          Haden@greenvillenc.gov.
                                          01:32AM -10 Sep 14




                                       Reply to @chiefaden          "t...+ Retweet     *   Favorite



                          Forgot your Twitter password? Get instructions on how to reset it.
                          You can also unsubscribe from these emails or change your notification settings. Need help?
                          If you received this message in error and did not sign up for Twitter, click not my account.
                          Twitter, Inc. 1355 Market St., Suite 900 San Francisco, CA 94103




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6/17/24, 6:30AM                                                       avens1@charter.net- Webmail I CHTR



    Subject: Elaboaration to Twitter Resonse
    Date: September 9, 2014 at 10:08 PM EDT
    From: avens l @charter.net<avens l @charter.net>
    To: Haden@greenvillenc.gov

    My daughter, Keisha White, was on oxygen, was connected to an oxygen monitor, and an electronic monitor.
    She was placed in wrist restraints at about midnight on the morning of 5/10/2014 to keep her in the bed. Both
    of her monitors ceased to give readings at approximately 3 :00 a.m. Initially, I was told that the nurse didn't
    reconnect the monitors since Keisha had been pulling the leads (monitor wires that are attached to sticky
    patches and stick to the chest) off. But if she was in restraints for 3 hours, this should not have been a factor.
    Then I was told that the nurse noted my daughter to be resting peacefully at 3:30 a.m. and did not want to
    disturb her. But 3:30 a.m. is the time that I asked the nurse to give Keisha her pain medications. And if she
    administered medicines at 3:30, ensuring Keisha was properly connected to her monitors should not have
    caused any more of a disturbance.

    When she went back to Keisha's room at 5:45a.m. to give the next dose of medicine, Keisha was found
    lifeless, in wrist restraints, unable to have pressed the call button, (more than likely her door was closed
    because it usually was when I went there, therefore cries for help while fighting for air would not have been
    heard) and code blue was called.
    I had left the hospital for a little while and returned just in time to hear the code blue for my daughter's room
    on the intercom as I approached the elevator. lt took the rescue team so long ( 10 - 15 minutes) to get a
    heartbeat, that by the time they got one, she was already brain dead. I decided to take her off life support at
    1:00 p.m. Time of death was 1:02. She was so brain dead that she only lived 2 minutes once the machine was
    turned off. Since I had left her room, I had no idea she was not connected to the monitors. I thought the
    monitors signaled the need for the code blue.
    I believe the care provided by the responsible medical professionals exceeded the meaning of gross
    negligence, because (1) the responsible parties knew Keisha was not connected to her monitors, (2) they
    knew she was in wrist restraints and totally dependent on them for her care, (3) they made a conscious
    decision to not ensure she was connected to the equipment at all between approximately 3:00a.m. and
    5:45a.m, and (4) they made a conscious decision to not increase human assessment during the time she was in
    restraints and not connected to her monitors while knowing she was experiencing symptoms of apnea earlier
    in the morning and night.

    There was a serious breach of duty by those who were obligated to provide necessary and life sustaining
    treatment between the hours of7:00 p.m. on the night of May 9, 2014 and 5:45 a.m. on May 10, 2014. This
    breach of duty caused Keisha White to suffer unnecessarily, violated her civil rights to freedom, as well as, to
    proper medical care, eliminated her ability to access the nurse call button should she need anything, depriveq
    her of essential monitoring that could have saved her life, caused her a greater sense of fear and anguish and
    confusion other than what's normally felt after being hospitalized, compromised her ability to communicate
    with the staff because she was abandoned during her most critical hours of need, and ultimately, became the
    cause of her death. She, Keisha White, my daughter, Vidant Medical Center's patient, deserved better than
    this.
    Keisha White, and her family entrusted the staff to treat her with the dignity and respect she was entitled to,
    and trusted the staff to perform all treatment options to the best of their ability. An accident is the occurrence
    of an unforeseen event. Medical professionals are trained to foresee possible consequences of the medical
    actions they perform, as well as the possible consequences of necessary medical actions they neglect to
    perform. The information I have been disclosed shows that the staff who were responsible for Keisha's care
    made intentional choices that were voluntary and aware of in thought. Yet, they made those choices without
    any regards to her safety and well-being. The results of those choices may not have been intentional, but
    those choices were not accidental.
     I know this case has a criminal element to it and believe it's involuntary manslaughter, but I can't get anyone
    to listen to me. District Attorney Futrell of the Pitt County courthouse refused point blank. He says his boss

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6/17/24, 6:30AM                                                   avens1@charter.net- Webmail I CHTR


    supported his decision. I went to the Greenville Police Department and they said I needed to talk with
    Vidant's Police Department. Vidant's Police Department won't talk to me unless Vicki Haddock gives the
    okay, which is a HUGE conflict of interest, because she works in Rlsk Management and her job is to protect
    the hospital. I need an external investigation; an external criminal investigation.

    I know I have a civil suit and the hospital has already offered me a 6-figure settlement. What i don't
    understand is if this case does NOT have a criminal elementt to it (such as manslaughter), why Vicki
    Haddock has had several communications with SBI. She has talked with several agents including Agnent
    Burnell and Agent Smith. They both told me that they are not brought in on cases this way. Initially, I was
    told that neither had spoke with Vicki HAddock and knew nothing of my daughter. THen I found out from
    Ms Haddock that in a conversation she had with them, not only did they tell her I had spoke to them, but that
    I had also spoke to the DA. I did not tell Ms HAddock that I spoke with the DA. Finally, after confronting the
    SBI again, they acknowledged the conversations but was able to do very little to help me. Again I ask, why is
    this communication ongooing if there's no criminal element. So, I intend to do everything possible to bring
    about an external investigation. If an investigation shows that the hospital staff may be guilty of manslaughter
    or criminal negligence, then I want charges brought. If anyone tried to cover it up, I want obstruction of
    justice charges brought. If anyone knows what happened with my daughter the morning of May 10, and did
    nothing, I want accessory charges brought. I want justice. My daughter 's rights were violated when the staff
    violated federal restraint protocol. IS there anything you can do to help me?

    My contact information is

    400 Poplar ST
    Weldon, C 27890 252-678-8300

    THANK YOU so much for your time and for responding to my tweet!!




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    Subject: Re: Elaboaration to Twitter Resonse (PART 2)
    Date: September 13, 2014 at 8:09 PM EDT
    From: avens l @charter.net<avens l @charter.net>
    To: HAden@greenvillenc.gov

    And what do you mean the SBI handled the original investigation????? YESSS! !! This has to be
    addressed!!!!! How could they handle an investigation without me knowing about it? And why would they
    unless YOU or the DA asked them to??????????????????????


    On Sat, Sep 13, 2014 at 6:57 PM, Hassan Aden wrote:

     Ms. White,

    I have reviewed the information in your e-mail and I assigned someone from our Major Crimes Unit to look
    into this matter. We have been made aware that both the SBI and the Pitt County District Attorney's Office
    have looked into this matter previously. Our Detective spoke with the SBI agents and with Asst. District
    Attorney Anthony Futrell about this matter. It is our conclusion that if you have evidence to present that
I   would support a criminal investigation,into this matter, please contact the SBI as they handled the original
    investigation. The Pitt County District Attorney's Office may be a resource for you. Thank you.

    Hassan Aden

    Chief of Police
    Greenville Police Department
    500 South Greene Street
    Greenville, NC 27834

    On Sep 9, 2014, at 10:10 PM," avensl@charter.net'' < avensl @charter.net> wrote:

    My daughter, Keisha White, was on oxygen, was connected to an oxygen monitor, and an electronic monitor.
    She was placed in wrist restraints at about midnight on the morning of 5/10/2014 to keep her in the bed. Both
    of her monitors ceased to give readings at approximately 3 :00 a.m. Initially, I was told that the nurse didn't
    reconnect the monitors since Keisha had been pulling the leads (monitor wires that are attached to sticky
    patches and stick to the chest) off. But if she was in restraints for 3 hours, this should not have been a factor.
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    lifeless, in wrist restraints, unable to have pressed the call button, (more than likely her door was closed
    because it usually was when I went there, therefore cries for help while fighting for air would not have been
    heard) and code blue was called.
    I had left the hospital for a little while and returned just in time to hear the code blue for my daughter's room
    on the intercom as I approached the elevator. It took the rescue team so long (10 - 15 minutes) to get a
    heartbeat, that by the time they got one, she was already brain dead. I decided to take her off life support at
    1:00 p.m. Time of death was I :02. She was so brain dead that she only lived 2 minutes once the machine was
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    decision to not ensure she was connected to the equipment at all between approximately 3:00a.m. and
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    I had also spoke to the DA. l did not tell Ms HAddock that I spoke with the DA. Finally, after confronting
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    why is this communication ongooing if there's no criminal element. So, I intend to do everything possible to
    bring about an external investigation. If an investigation shows that the hospital staff may be guilty of
    manslaughter or criminal negligence, then I want charges brought. If anyone tried to cover it up, I want
    obstruction of justice charges brought. If anyone knows what happened with my daughter the morning of
    May 10, and did nothing, I want accessory charges brought. I want justice. My daughter's rights were
    violated when the staff violated federal restraint protocol. IS there anything you can do to help me?

    My contact information is

    400 Poplar ST
    Weldon, NC 27890 252-678-8300

     THANK YOU so much for your time and for responding to my tweet!!



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6/17/24, 7:42 PM                                                     avens1@charter.net-Webmail I CHTR



    Subject: Re : New Info regarding death at Vidant Medical Center
    Date: November 7, 2014 at 12:28 PM EST
    From: a vens l @chaiter.net<a vens !@charter.net>
    To: HAden@greenviUenc.gov

    When will we talk? How will you get this information?


    On Fri, Nov 7, 2014 at 8:03 AM, Hassan Aden wrote:

    Ms. Avens-I will facilitate a review of the new information. It will likely include GPD, SBI and the Pitt
    County DAs office.


    Again-I am sorry for your loss. Thank you.

    Hassan Aden

/ Chief of Police


(
  Greenville Police Department
  500 South Greene Street
  Greenville, NC 27834

    On Nov 7, 2014, at 4:05 AM," avensl@charter.net" < avensl @charter.net> wrote:

    Cynthia Avens
    400 Poplar St
    Weldon, NC 27890
    252-678-8300

    Hi Chief Aden,

    I spoke with someone at the US Attorny General's THursday evening about 5pm. He suggested I talk to you
    again about launching an investigation into my daughter's death at Vidant Medical Center. He told me that
    because the hospital has it's own PD should not be an issue, and that the matter should investigated by you,
    then passed to the DA for determination on whether to prosecute.

    I have new information. Since the last time we've communicated, I've received 1600 pages of medical records
    to substantiate my claims of murder by Linda Erixon and Monica Baker Wilson as well as possible
    accessories to the crime. I also have a 36 page report regarding the findings from an investigation by the NC
    DHHS that explicitly states that the hospital violated 6 standards of care. The report also explicitly points out
    where the staff members failed my daughter's care. And it provides witness testimony/statements pointing
    out Erixon DELIBERATELY refused care to my daughter even though my daughter was in "immediate
    jeopardy" and had been in "cardiac arrest" all night. There's several accounts where Erixon was informed of
    my daughter's oxygen level being as low as 62%, and she still REFUSED to provide life-sustaining care and
    NEGLECTED to inform the physician of changes in my daughter's behavior, stats, and condition. She lied in
    the records to cover up her crime which is felony obstruction of justice for falsifying records to elude
    suspicions. Because of the EGREGIOUS nature, and the fact that my daughter was INTENTIONALLY left in
    restraints even after reaching the point they were supposed to be removed (according to DHHS) ... another
    area of the records that I believe were falsified but yet contradicted statements and standards .... she should be
    charged with first degree murder for the torture my daughter endured. If you find that it does not qualify as
    torture, omission of a legal obligation resulting in death is second degree murder. THat's where the charge

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    nurse, Monica Baker Wilson comes in at. Even though her statements in the repo1i attempts to shield herself
    and her role in my daughter's death, she does contradict herself. In addition to that, I was there. I know for a
    fact that she knew what was going on with my daughter when she made the choice to do nothing
    (OMISSION) while yet holding the title "CHARGE NURSE."

    I do look forward to discussing this with you further and submitting the evidence I have to you.

    Sincerey,

    Cynthia Avens




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